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P.O. Box 759                                                                    C6 '.$.€F' :Cl~l':t:91 F M 1 !L
Minersville, PA 17954-0759
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Federal Correctional Institution
Schuylkill, PA
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